                                          Case 22-31417-mvl7    Doc 65     Filed 10/23/23
                                                                                   FORM 1
                                                                                           Entered 10/23/23 12:21:54                              Desc Main
                                                                          Document      Page 1 of 2
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                            Page No:     1

                                                                                  ASSET CASES

Case No.:                     22-31417-MVL                                                                                           Trustee Name:                            Jeffrey H. Mims
Case Name:                    EARLYSENSE, INC.                                                                                       Date Filed (f) or Converted (c):         08/04/2022 (f)
For the Period Ending:        09/30/2023                                                                                             §341(a) Meeting Date:                    09/13/2022
                                                                                                                                     Claims Bar Date:                         01/17/2023

                                  1                                2                       3                                 4                        5                                         6

                         Asset Description                       Petition/          Estimated Net Value                   Property               Sales/Funds            Asset Fully Administered (FA)/
                          (Scheduled and                       Unscheduled         (Value Determined by                   Abandoned              Received by            Gross Value of Remaining Assets
                     Unscheduled (u) Property)                    Value                   Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                  Less Liens, Exemptions,
                                                                                     and Other Costs)

 Ref. #
1       Cash on hand                                                      $0.00                             $0.00                                           $0.00                                         FA
2       Silicon Valley Bank Checking Last 4 digits of              $55,408.43                       $55,408.43                                       $54,917.34                                     $491.09
        account number 9 2 4 5
3       Checking, savings, money market, or financial              $33,210.34                       $33,210.34                                            $710.34                                         FA
        brokerage accounts (Identify all) See
        continuation sheet
4       Landlord Cummings Properties, LLC                          $28,035.50                       $28,035.50              OA                              $0.00                                         FA
5       Accounts receivabl 90 days old or less:                   $222,325.00                      $222,325.00              OA                              $0.00                                         FA
        $1,069,672.00 face amount -$ 847,347.00
        doubtful or uncollectible accounts = $222,325.00
6       Accounts receivable Over 90 days old:                             $0.00                             $0.00           OA                              $0.00                                         FA
        $5,137,903.00 face amount - $5,137,903.00
        doubtful or uncollectible accounts = $0.00
7       Finished goods, including goods held for resale           $296,133.52                               $0.00           OA                              $0.00                                         FA
        LIST - See Att. New inventory and In-Transit
8       Other inventory or supplies Cummings - See                $142,827.09                      $142,827.09              OA                              $0.00                                         FA
        Att. New, Used, RMA Return Inventory
9       Office furniture Misc. office furniture, including             Unknown                              $0.00           OA                              $0.00                                         FA
        desks, chairs, cabinets
10      Office equipment, including all computer                       Unknown                              $0.00           OA                              $0.00                                         FA
        equipment and communication systems
        equipment and software Office laptop
        computers and accessories are in possession of
        each employee
11      Customer lists, mailing lists, or other                        Unknown                              $0.00           OA                              $0.00                                         FA
        compilations Customer List
12      Interests in insurance policies or annuities See               Unknown                              $0.00                                           $0.00                                         FA
        continuation sheet


TOTALS (Excluding unknown value)                                                                                                                                            Gross Value of Remaining Assets
                                                                   $777,939.88                    $481,806.36                                         $55,627.68                                  $491.09
                                      Case 22-31417-mvl7                      Doc 65  Filed 10/23/23
                                                                                              FORM 1
                                                                                                      Entered 10/23/23 12:21:54                                            Desc Main
                                                                                     Document      Page 2 of 2
                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                          Page No:    2

                                                                                                       ASSET CASES

Case No.:                   22-31417-MVL                                                                                                                     Trustee Name:                               Jeffrey H. Mims
Case Name:                  EARLYSENSE, INC.                                                                                                                 Date Filed (f) or Converted (c):            08/04/2022 (f)
For the Period Ending:      09/30/2023                                                                                                                       §341(a) Meeting Date:                       09/13/2022
                                                                                                                                                             Claims Bar Date:                            01/17/2023

                                1                                                2                              3                                   4                         5                                            6

                       Asset Description                                     Petition/                  Estimated Net Value                    Property                  Sales/Funds             Asset Fully Administered (FA)/
                        (Scheduled and                                     Unscheduled                 (Value Determined by                    Abandoned                 Received by             Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                  Value                           Trustee,                   OA =§ 554(a) abandon.            the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)




    Major Activities affecting case closing:
     09/15/2023     Trustee evaluating claims for objections to same, bar date for claims has run recently. Trustee's final report and proposed distribution expected to be submitted to UST for review and
                    filing before the end of 2023, if not well before.


Initial Projected Date Of Final Report (TFR):          12/31/2023                            Current Projected Date Of Final Report (TFR):                                        /s/ JEFFREY H. MIMS
                                                                                                                                                                                  JEFFREY H. MIMS
                                                                                                                                                                                  TRUSTEE
